            Case 4:20-cr-00204-BSM Document 3 Filed 07/09/20 Page 1 of 2


                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA                    )      No. 4:20CR    OO~l1 ~>JIIJ
                                            )
V.                                          )       18 U.S.C. § 922(g)(l)
                                            )
REGINALD LAMONT HARRIS                      )

                                       INDICTMENT

THE GRAND JURY CHARGES THAT:

                                        COUNT ONE

       A.     On or about August 27, 2019, the defendant,

                              REGINALD LAMONT HARRIS,

had previously and knowingly been convicted of one of more of the following crimes punishable

by a term of imprisonment exceeding one year:

               1.     Possession with Purpose to Deliver Controlled Substance, . m Pulaski

                      County, Arkansas, Circuit Court in Case No. 2014-3701;

              2.      Possession of Marijuana, Second Offense, in Pulaski County, Arkansas,

                      Circuit Court in Case No. 2007-3568;

              3.     Possession of a Controlled or Counterfeit Substance Without a Prescription,

                      in Pulaski County, Arkansas, Circuit Court in Case No. 01-3167; and

              4.     Aggravated Robbery, in Pulaski County, Arkansas, Circuit Court in Case

                     No. 93-2343.

       B.     On or about August 27, 2019, in the Eastern District of Arkansas, the defendant,

                              REGINALD LAMONT HARRIS,

knowingly possessed, in and affecting commerce, one or more of the following:

              1.     a firearm, that is: a Smith & Wesson, model Bodyguard, .380-caliber

                     handgun, bearing serial number KEE4045, in violation of Title 18, United
           Case 4:20-cr-00204-BSM Document 3 Filed 07/09/20 Page 2 of 2



                       States Code, Section 922(g)(l ); and

               2.      One of more rounds of Federal .380-caliber ammunition.

       All in violation of Title 18, United States Code, Section 922(g)(l).



                                FORFEITURE ALLEGATION

       Upon conviction of the offense alleged in Count One of this Indictment, the defendant,

REGINALD LAMONT HARRIS, shall forfeit to the United States pursuant to Title 18, United

States Code, Section 924(d), Title 21, United States Code, Section 853, and Title 28, United States

Code, Section 2461(c), all fireanns and ammunition involved in the commission of the offense.



                     [END OF TEXT. SIGNATURE PAGE ATTACHED.]
